                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                                   ROANOKE DIVISION

 UNITED STATES OF AMERICA,                             )
                                                       )
 Plaintiff,                                            )
                                                       )
 v.                                                    )
                                                       )    Case No. 7:19-CV-00354
 SOUTHERN COAL CORPORATION, ET AL.                     )
                                                       )
 Defendant.                                            )
 ____________________________________                  )


              UNITED STATES’ MEMORANDUM IN SUPPORT OF
         MOTION TO COMPEL COMPLIANCE WITH CONSENT JUDGMENT

       The United States moves to compel Defendants to pay the installment payments for

monetary civil penalties they agreed to and that this Court ordered them to pay.

                                       BACKGROUND

       Defendants collectively owned and operated over 50 coal mines. The Mine Safety and

Health Administration (MSHA) conducted regular statutorily required inspections at Defendants’

mines. See 30 U.S.C. § 813(a) (requiring regular inspections of mines). As a result of those

inspections, MSHA issued hundreds of citations and orders for violations of the Federal Mine

Safety and Health Act (Mine Act) and MSHA’s mandatory health and safety standards

promulgated under the Mine Act to Defendants. See generally 30 U.S.C. § 801, et seq. & 30 C.F.R.

Pts. 75 & 77. Between 2014 and 2019, Defendants failed to pay monetary civil penalties for those

violations, totally $4,776,370.04. Compl. ¶ 2, ECF No. 1.

       As a result of Defendants’ failure to pay the monetary civil penalties, the United States

filed suit under the Mine Act and the Federal Debt Collection Practices Act (FDCPA). 30 U.S.C.



                                                1
§§ 818(a); 820(j); 28 U.S.C. § 3001, et seq.; Compl., ECF No. 1. After some initial motion practice,

the parties reached a settlement agreement. On April 1, 2020, the parties filed a Joint Stipulation

for Consent Judgment (ECF No. 44) where Defendants acknowledged they owed and agreed to

pay $4,065,578.29 for their Mine Act civil penalties. Id. ¶ 6. Additionally, Defendants

acknowledged and agreed to pay other unpaid Mine Act civil penalties in the amount of

$1,064,547.18. Id. ¶ 8. The United States agreed Defendants would not have to pay post-judgment

interest or the 10% surcharge authorized by the FDCPA, 28 U.S.C. § 3011(a). Id. ¶ 14.

        In total, Defendants agreed to pay $5,130,125.47 for their civil penalties. ECF No. 45. The

Court ordered Defendants to pay an initial $212,909.44 payment by April 15, 2020, then make

monthly consecutive monthly payments of $102,442.00 by the first of each month until the debt

was paid in full. Id.

        Defendants have consistently made their monthly payments late. Notice of Noncompliance

¶ 4, ECF No. 46. The United States filed a notice of non-compliance on January 6, 2022, because

Defendants failed to pay their December 2021 and January 2022 payments. Id. ¶ 6. After the United

States filed its notice of non-compliance, Defendants paid their December 2021 and January 2022

payments. Defendants only paid their February 2022 payment in mid-March 2022 and their March

2022 payment after the United States was forced to file a motion to compel compliance with the

consent order. Mot. to Compel, ECF Nos. 49 & 50.

        Defendants have again stopped complying with the consent order. As of today, Defendants

have failed to pay their February 2023, March 2023, April 2023, and May 2023 payments for a

total of $409,768 in past due payments.

        The United States has attempted to achieve compliance with the consent order, notifying

Defendants of past due amounts on February 6, 2023; February 23, 2023; February 24, 2023;



                                                 2
March 2, 2023; March 9, 2023; March 16, 2023; March 24, 2023; April 3, 2023; April 14, 2023;

and May 5, 2023. Despite these efforts, Defendants have nonetheless failed to make their required

payments or otherwise indicate why they are unable to comply with the Consent Judgment.

                                  STANDARD OF REVIEW

       This Court has inherent authority to enforce the terms of its Consent Judgment. See

Thompson v. U.S. Dep’t of Housing & Urban Dev., 404 F.3d 821, 833 (4th Cir. 2005) (“[T]he

court’s inherent authority over its own judgment would have provided it with the continuing

authority to enforce the Consent Decree against HUD.”).

                                         ARGUMENT

       This matter is straight-forward: Defendants agreed and stipulated to a judgment of the

Court that they owed civil penalties and agreed to pay them in consecutive months as part of an

installment agreement. ECF No. 44. The Court accepted the parties’ joint stipulation and entered

a consent judgment. ECF No. 45. Defendants have not honored the terms of its agreement and the

Court’s consent judgment by not making payments for February 2023, March 2023, April 2023,

and May 2023.

       Defendants are mine operators. Congress relies on monetary civil penalties under the Mine

Act as a means to compel operators to comply with mandatory health and safety standards. See

Coal Emp’t Project v. Dole, 889 F.2d 1127, 1132–33 (D.C. Cir. 1989) (citing the Mine Act’s

legislative history at 123 Cong. Rec. 4388 (1977)). The Mine Act’s stated purpose is to protect the

health and safety of the industry’s most precious resource—the miner. 30 U.S.C. § 801(a). If

Defendants are allowed to ignore their obligations, it undermines the authority of this Court and

removes the incentive of these Defendants—and other mining companies—from complying with

MSHA’s health and safety standards designed to protect the nations’ miners.



                                                3
                                      CONCLUSION

       Because Defendants agreed, and this Court ordered them, to make consecutive monthly

payments of $102,442.00, this Court should order Defendants to immediately pay $409,768.00 for

their February 2023, March 2023, April 2023, and May 2023 installments and should order them

to comply with the consent judgment going forward.



                                           Respectfully submitted,

                                           CHRISTOPHER R. KAVANAUGH
                                           United States Attorney

Date: May 17, 2023                         /s/ Laura Day Taylor
                                           Laura Day Taylor
                                           Assistant United States Attorney
                                           Virginia State Bar No. 94021
                                           Illinois State Bar No. 6289334
                                           Laura.Taylor@usdoj.gov

                                            /s/ Krista Consiglio Frith
                                            Assistant United States Attorney
                                            Virginia Bar No. 89088
                                            United States Attorney’s Office
                                            P. O. Box 1709
                                            Roanoke, VA 24008-1709
                                            Telephone: (540) 857-2250
                                             Facsimile: (540) 857-2283
                                             Krista.Frith@usdoj.gov

                                            /s/ Jason S. Grover
                                            Special Assistant United States Attorney
                                            Illinois Bar No. 6256032
                                            Counsel for Trial Litigation
                                            Mine Safety and Health Division
                                            Department of Labor
                                            201 12th Street South, Suite 401
                                            Arlington, VA 22202
                                            TEL (202) 693-9326
                                            FAX (202) 693-9392
                                            grover.jason@dol.gov
                                                    Counsel for Plaintiff


                                              4
                               CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing was electronically filed via

the Court’s CM/ECF system, which will send notice to all counsel of record.


                                                    /s/ Krista Consiglio Frith
                                                    Krista Consiglio Frith
                                                    Assistant United States Attorney




                                                5
